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     LAW OFFICES OF CHRIS COSCA
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     (916) 440-1010
 3
     Attorney for Defendant
 4   JAMES SHERMAN
 5

 6

 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
                                                       )   2:13-CR-00302 MCE
11   UNITED STATES OF AMERICA,                         )
                                                       )   STIPULATION AND [PROPOSED]
12                    Plaintiff,                       )   ORDER TO MODIFY PRETRIAL
                                                       )   RELEASE CONDITION
13       vs.                                           )
     JAMES SHERMAN,                                    )
14                                                     )
                                                       )
15                                                     )
                                                       )
16                    Defendant.                       )
                                                       )
17

18
                                                STIPULATION
19
               Pursuant to the recommendation of Pretrial Services, the parties hereto,
20
     through their undersigned counsel, hereby stipulate that the following condition of
21
     defendant’s pretrial release be removed:
22
               Condition number 8 - You shall submit to drug and/or alcohol testing as
23
     approved by the pretrial services officer. You shall pay all or part of the costs of the
24
     testing services based upon your ability to pay, as determined by the pretrial services
25
     officer
26
               All other release conditions remain.
27
     ///
28



                                   STIP AND ORDER MODIFYING RELEASE CONDITION
                                              USA v. JAMES SHERMAN
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 1
                                          Respectfully submitted,
 2

 3
     Dated: November 8, 2017              /s/ Chris Cosca___________________
 4                                        CHRIS COSCA
                                          Attorney for Defendant
 5

 6

 7   Dated: November 8, 2017              _/s/ Jason Hitt ___________________
 8
                                          JASON HITT
                                          Assistant US Attorney
 9                                        Attorney for Plaintiff
10

11

12
                                        ORDER
13

14

15   IT IS SO ORDERD.

16

17
     Dated: November 9, 2017
18                                           _____________________________________
                                             CAROLYN K. DELANEY
19                                           UNITED STATES MAGISTRATE JUDGE
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                        STIP AND ORDER MODIFYING RELEASE CONDITION
                                   USA v. JAMES SHERMAN
